                               Case 21-01140-RAM                      Doc 33          Filed 08/22/21              Page 1 of 5
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
Noguera,
      Plaintiff                                                                                                        Adv. Proc. No. 21-01140-RAM
Gonzalez,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: covington                                                             Page 1 of 2
Date Rcvd: Aug 20, 2021                                               Form ID: pdf004                                                           Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 22, 2021:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: USTPRegion21.MM.ECF@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      Office of the US Trustee, 51 S.W. 1st Ave., Suite
                                                                                                                  1204, Miami, FL 33130-1614
ust                    + Email/Text: USTPRegion03.WL.ECF@USDOJ.GOV
                                                                                        Aug 20 2021 21:54:00      U.S. Trustee, Office of the United States Trustee,
                                                                                                                  J. Caleb Boggs Federal Building, 844 King Street,
                                                                                                                  Suite 2207, Lockbox 35, Wilmington, DE
                                                                                                                  19801-3519
ust                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      U.S. Trustee., US Dept of Justice, Office of the US
                                                                                                                  Trustee, One Newark Center Ste 2100, Newark, NJ
                                                                                                                  07102-5235
ust                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, U.S. Federal Office Building, 201 Varick
                                                                                                                  Street, Room 1006, New York, NY 10014-7016
ust                    + Email/Text: ustpregion21.at.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee (cabrera), Office of the
                                                                                                                  United States Trustee, 75 Ted Turner Dr., Suite
                                                                                                                  362, Atlanta, GA 30303-3330
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee (davis), Office of the United
                                                                                                                  States Trustee, George C Young Federal Building,
                                                                                                                  400 West Washington Street, Suite 1100, Orlando,
                                                                                                                  FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - (ennever), Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - FTM7/13, Timberlake
                                                                                                                  Annex, Suite 1200, 501 E Polk Street, Tampa, FL
                                                                                                                  33602-3949
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - JAX 13/7, Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - ORL, Office of the United
                                                                                                                  States Trustee, George C Young Federal Building,
                                                                                                                  400 West Washington Street, Suite 1100, Orlando,
                                                                                                                  FL 32801-2210
ust                    + Email/Text: ustp.region21.or.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - ORL7/13, Office of the
                                                                                                                  United States Trustee, George C Young Federal
                                                                                                                  Building, 400 West Washington Street, Suite 1100,
                                                                                                                  Orlando, FL 32801-2210
ust                    + Email/Text: ustpregion21.tp.ecf@usdoj.gov
                                                                                        Aug 20 2021 21:54:00      United States Trustee - TPA7/13, Timberlake
                                                                                                                  Annex, Suite 1200, 501 E Polk Street, Tampa, FL
                                                                                                                  33602-3949
                              Case 21-01140-RAM                    Doc 33          Filed 08/22/21             Page 2 of 5
District/off: 113C-1                                               User: covington                                                          Page 2 of 2
Date Rcvd: Aug 20, 2021                                            Form ID: pdf004                                                        Total Noticed: 12
TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust              *+            United States Trustee - ORL7/13, Office of the United States Trustee, George C Young Federal Building, 400 West Washington
                               Street, Suite 1100, Orlando, FL 32801-2210
ust              *+            United States Trustee - TPA7/13, Timberlake Annex, Suite 1200, 501 E Polk Street, Tampa, FL 33602-3949

TOTAL: 0 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 22, 2021                                        Signature:            /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 20, 2021 at the address(es) listed
below:
Name                             Email Address
Jeffrey S. Berlowitz
                                 on behalf of Plaintiff Dr. Carlos Rodrigo Matus MacNiven jberlowitz@siegfriedrivera.com jortega@siegfriedrivera.com

Jeffrey S. Berlowitz
                                 on behalf of Plaintiff Gaviota Enterprise Corporation jberlowitz@siegfriedrivera.com jortega@siegfriedrivera.com

Jeffrey S. Berlowitz
                                 on behalf of Plaintiff Dr. Maria Gabriela Noguera jberlowitz@siegfriedrivera.com jortega@siegfriedrivera.com

Robert J. Bigge Jr., Esq
                                 on behalf of Defendant Juan A. Gonzalez brpa@biggerodriguez.com biggerr72292@notify.bestcase.com


TOTAL: 4
                Case 21-01140-RAM   Doc 33   Filed 08/22/21   Page 3 of 5




       ORDERED in the Southern District of Florida on August 20, 2021.




                                                       Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
       ______________________________
                                      )
       In re                          )
                                      )   CASE NO. 18-11977
       JUAN A. GONZALEZ and           )
       CAROLINA GONZALEZ,            )    CHAPTER 13
                                      )
                 Debtors.             )
       ______________________________)
                                      )
       DR. MARIA GABRIELA NOGUERA,    )
       DR. CARLOS RODRIGO MATUS       )
       MACNIVEN, and GAVIOTA          )
       ENTERPRISE CORPORATION,        )
                                      )
                 Plaintiffs,          )
                                      )
       vs.                            )   ADV. NO. 21-01140-RAM-A
                                      )
       JUAN A. GONZALEZ,              )
                                      )
                 Defendant.           )
       ______________________________)

              ORDER OF REFERRAL TO A JUDICIAL SETTLEMENT CONFERENCE
          Case 21-01140-RAM   Doc 33       Filed 08/22/21    Page 4 of 5



     The Court conducted a hearing on August 19, 2021, on the

Plaintiffs’ Motion to Continue Status Conference and Related Pre-

Trial Deadlines and for Referral to Judicial Settlement Conference

[DE #25].    As announced, and for the reasons stated, on the record

at the hearing, which are incorporated here by reference, it is –

     ORDERED as follows:

     1.     This proceeding is referred to Judge Hyman for a judicial

settlement conference (the “Settlement Conference”).

     2.     The Settlement Conference shall be conducted on October

5, 2021.

     3.     All parties are required to participate in Settlement

Conference.      The   appearance      of    counsel        and   each     party,   or

representatives of each party with full authority to enter into a

full and complete compromise and settlement, is mandatory.

     4.     The parties shall comply with all of Judge Hyman’s pre-

Settlement Conference requirements.

     5.     Judge Hyman may report to the Court the complete failure

of any party to attend the Settlement Conference, which failure

may result in the imposition of sanctions by the Court.

     6.     Within seven days of the Settlement Conference, the

Court requests that Judge Hyman file the Local Form No. 59, “Report

of Mediator”, that is required by Local Rule 9019-2(E).

     7.     If the Settlement Conference concludes in an impasse,

                                       2
          Case 21-01140-RAM   Doc 33       Filed 08/22/21   Page 5 of 5



this proceeding will be tried.

     8.     If   the   parties   reach        an   agreement     regarding   the

disposition of this proceeding, they shall prepare and submit to

the Court an appropriate stipulation of settlement and joint motion

for approval of the settlement.            The settlement agreement and the

motion to approve the settlement agreement shall be filed within

fourteen days of the filing of Judge Hyman’s Report of Mediator.

                                   ###

COPIES FURNISHED TO:
Jeffrey S. Berlowitz, Esq.
Robert J. Bigge, Jr.




                                       3
